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                               UNITED STATES DISTRICT COURT                           FILED
                                                                                      MAY 20 2009
                                     DISTRICT OF SOUTH DAKOTA

                                        SOUTHERN DIVISION
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                                               +
UNITED STATES OF AMERICA,                      +              CR 07-40055-10
                                               +
                        Plaintiff,             +
                                               +
        -vs-                                   +    ORDER DENYING MOTION FOR
                                               +     REDUCED SENTENCE UNDER
ALLISON CRAWFORD,                              +         18 U.S.C. § 3582(c)(2)
                                               •
                        Defendant.              +
                                                +
* *** ** **** ** * ** *** *** * * *** * ** ** * *** ** * ** * ** ** * * * * ** *
        On October 20, 2008, defendant Allison Crawford filed a pro se motion for a reduced
sentence pursuant to 18 U.S.c. § 3582(c)(2).


        On November 1,2007, the Sentencing Commission issued amendments to the crack cocaine
guidelines which lowered sentencing ranges for most crack offenses by two offense levels. On
December 11,2007, the Commission voted to apply the crack amendments retroactively to cases in
which the defendant was sentenced before November I, 2007. Apparently Defendant does not
realize that this Court applied the crack cocaine amendments with the lower offense level when
Defendant was sentenced on December 18, 2007. As Defendant noted in her Motion, pursuant to the
 amendment, the offense level specified in the Drug Quantity Table under USSG §2Dl.l(c)(5) sets a
base offense level of 30 for at least 50 grams but less than 150 grams of crack cocaine. The
 Defendant's criminal activity involved at least 50 grams of crack, and she was assigned a base offense
 level of 30 in accordance with the crack amendments. Defendant is not eligible for a sentence
 reduction because she already received the benefit of the crack cocaine amendments. Accordingly,


        IT IS ORDERED that Defendant Allison Crawford's motion for a reduced sentence
        pursuant to 18 U.S.C. § 3582(c)(2), Doc. 1268, is denied.
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Dated this   'l1J day of May, 2009.
                                      BY THE COURT:



                                      ~~p~Yb--
                                      United States District Judge

ATTEST:
JOSEPH HAAS, CLERK




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